57 F.3d 1077wNOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.
    Monica ROBERTS, Plaintiff-Appellant,v.Donna E. SHALALA, Secretary of Health &amp; Human Services,Defendant-Appellee.
    No. 93-35806.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted March 9, 1995.Decided June 13, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    